    Case 6:20-cr-00018-H-BU Document 31 Filed 09/18/20            Page 1 of 1 PageID 58



                            LINITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 SANANGELO DIVISION

UNITED STATES OF AMERICA,
  Plainffi,

                                                           NO. 6:20-CR-018-01-H

MICHAEL JAMES DUENAS (1),
     Defendant.


              ORDER ACCEPTING REPORT AND RECOMMENDATION
                 OF TIIE UNITED STATES MAGISTRATE JUDGE
                        CONCERNING PLEA OF GI,JILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objecrions thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$   636(bX1), the undersigned District Judge is ofthe opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

         Dated septemb ,,   f   (   .roro.


                                             JAME       SLEYHENDRIX
                                                    D STATES DISTRICT ruDGE
